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ORIGINAL

                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION




     UNITED STATES OF AMERICA
                                               Criminal Information
           v.

                                               No. 1:17-CR-221-0DE
     FRANKLIN B. TRELL




  THE UNITED STATES ATTORNEY CHARGES THAT:


                                      Count One
                                     (Conspiracy)

     1. Beginning on a date unknown, but from at least in or about July 2006, and

  continuing through at least in or about July 2013, in the Northern District of

  Georgia and elsewhere, the Defendant, FRANKLIN B. TRELL, did combine,

  conspire, confederate, agree, and have a tacit understanding with Cynthia P.

  Vinson and others unknown, to commit certain offenses, namely, (1) to

  knowingly devise and participate in a scheme and artifice to defraud, and for

  obtaining money by means of materially false and fraudulent pretenses,

  representations, and promises, and by the omission of material facts, and in

  doing so, to cause interstate wire communications to be transmitted in

  furtherance of said scheme and artifice to defraud, in violation of Title 18, United

  States Code, Section 1343; and (2) to execute and attempt to execute a scheme and

  artifice to defraud KeyBank, a financial institution the deposits of which were

  then insured by the Federal Deposit Insurance Corporation, and to obtain and
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attempt to obtain moneys, funds, credits, assets, and other properties owned by

and under the custody and control of a financial institution, by means of

materially false and fraudulent pretenses, representations, and promises, as well

as by omission of material facts, in violation of Title 18, United States Code,

Section 1344; and (3) to knowingly engage in and attempt to engage in monetary

transactions in criminally derived property of a value greater than $10,000,

consisting of the deposit, withdrawal, transfer, and exchange, in and affecting

interstate commerce, of funds and monetary instruments by, through, and to a

financial institution, namely SunTrust Bank, and its subsidiaries and affiliates,

such property having been derived from specified unlawful activity, that is, wire

and bank fraud, in violation of Title 18, United States Code, Sections 1343 and

1344, in violation of Title 18, United States Code, Section 1957.

                                Manner and Means

   2. Defendant TRELL entered into agreements with an individual, hereafter


referred to as G.O., to develop medical software and medical imaging businesses

located in the metro Atlanta, Georgia area and Clermont, Florida. Defendant

TRELL and G.0. each agreed to contribute significant capital to these businesses.

In many instances, the capital infusion was to be equally contributed by

Defendant TRELL and G.0.

   3. Cynthia P. Vinson had worked for Defendant TRELL in previous ventures.

Defendant TRELL hired Vinson to serve as a business manager and to assist with



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the financial and bookkeeping aspects of the businesses that Defendant TRELL

and G.O. were developing.

   4. Defendant TRELL and Vinson formed numerous entities with the Georgia


Secretary of State, and used entities they had formerly established, to allow them

to open business bank accounts at SunTrust Bank. Most of these businesses were

"shell companies," meaning they had no assets and no viable business activities.

   5. Defendant TRELL and Vinson made false statements and representations to


G.0. concerning the need for capital funding and the actual contributions being

made by Defendant TRELL. These false statements and representations caused

G.0. to deposit millions of dollars via bank checks and interstate wire

communications into the business bank accounts at SunTrust Bank, controlled by

Defendant TRELL and Vinson.

   6. Defendant TRELL and Vinson also made false statements and

representations to KeyBank about these businesses, thereby causing the financial

institution to distribute loan proceeds to the SunTrust Bank business accounts

controlled by Defendant TRELL and Vinson in the form of interstate wire

communications.

   7. Defendant TRELL and Vinson provided false and fraudulent information to


G.O. and KeyBank to obtain funds from them and also misrepresented how the

funds they obtained were used and to be used. Through SunTrust, Defendant

TRELL and Vinson engaged in monetary transactions greater than $10,000 with

the money obtained from the fraud.
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   8. Defendant TRELL and Vinson diverted over $5 million of the funds

provided by G.O. and KeyBank for their personal use.

   9. As late as in or about July 2013, Defendant TRELL and Vinson committed


overt acts within the Northern District of Georgia in furtherance of the

conspiracy, and to achieve the objects and purposes thereof, including the

making of false statements and representations in furtherance of the conspiracy

and fraudulent scheme.

   All in violation of Title 18, United States Code, Section 371.



JOHN A. HORN



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 STEPHEN H. MCCLAIN


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  Assistant United States Attorney
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lM�L
  Assistant United States Attorney
Georgia Bar No.805055


600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303
404-581-6000; Fax: 404-581-6181




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